Case 0:19-cv-60752-RAR Document 11 Entered on FLSD Docket 05/09/2019 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF FLORIDA (FT. LAUDERDALE)

                               Case No. 0:19-cv-60752-RAR – Ruiz

  BRENDA BELL, individually and on behalf             CLASS ACTION
  of others similarly situated

         Plaintiff,

         v.

  ROYAL SEAS CRUISES, INC.,

        Defendant.
  __________________________________/

                                   NOTICE OF APPEARANCE

         Attorney Gregg Strock of the law firm of GREENSPOON MARDER LLP hereby gives

  this Notice of Appearance as counsel for Defendant in this action. Copies of all future pleadings,

  notices, motions, orders and other documents filed in these proceedings should be served upon

  the undersigned.

  DATED: May 9, 2019                           Respectfully submitted,

                                               By:     /s/ Gregg I. Strock
                                                      Gregg I. Strock
                                                      Florida Bar No. 1010140
                                                      Jeffrey A. Backman
                                                      Florida Bar No. 662501
                                                      GREENSPOON MARDER LLP
                                                      200 E. Broward Blvd., Suite 1800
                                                      Ft. Lauderdale, FL 33301
                                                      (954) 491-1120
                                                      jeffrey.backman@gmlaw.com
                                                      khia.joseph@gmlaw.com
                                                      gregg.strock@gmlaw.com
                                                      marie.kusek@gmlaw.com

                                                      Attorneys for Defendant
